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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF GEORGIA
                                    STATESBORO DIVISION


                                                  *
LABARRION HARRIS,
                                                  *


                                                  •k
        Plaintiff,
                                                  ■k


                V.                                *                        CV   619-097
                                                  *


BERNARD HILL and ANDREW                           *
MCFARLAND,                                        *

        Defendants




                                           ORDER




        Before the Court is pro se Plaintiff LaBarrion Harris's motion

for     relief       from    judgment.          (Doc.        17. )     Plaintiff        moves   under

subsections          (a),^    (b) (1) ,   and     (b) (6)      of Rule      60,   seeking relief

from     the     Court's      Order       (Doc.        15)    adopting      the    United       States

Magistrate           Judge's      Report        and          Recommendation         C'R&R")       that

Plaintiff's equal protection and retaliation claims be dismissed.

Plaintiff has also appealed the Adoption Order.


        While a notice of appeal generally deprives a district court

of jurisdiction over the issues in the appeal,                                  a district court

may act "'in furtherance of the appeal."                             Mahone v.      Ray,    326 F.Sd

1176,    1179    (11th Cir. 2003) .             Considering and denying a Rule 60(b)

motion    falls within that purview.                          See    id.   at   1180.      "However,




1 Rule 60(a)   allows for the correction of clerical mistakes.
Plaintiff does not designate any clerical mistake for correction.
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following the filing of a notice of appeal district courts do not

possess jurisdiction to grant a Rule 60(b) motion"; they may either

deny the motion or "indicate [their] belief that the arguments

raised are meritorious."         Id.


       Federal   Rule    of   Civil    Procedure   60(b)       permits   courts   to

relieve a party from final judgment for six reasons:

       1) mistake,       inadvertence,      surprise,          or    excusable
          neglect;

       2) newly discovered evidence that, with reasonable
          diligence, could not have been discovered in time to
          move for a new trial under Rule 59(b);

       3) fraud, . . . misrepresentation, or misconduct by an
          opposing party;

       4) the judgment is void;

       5) the judgment has been satisfied, released, or
          discharged; it is based on an earlier judgment that
          has    been    reversed      or   vacated;      or     applying    it
          prospectively is no longer equitable; or

       6) any other reason that justifies relief.

Fed. R. Civ. P. 60(b).        "Motions under [Rule 60(b)] are directed to

the sound discretion of the district court."               Griffin v. Swim-Tech

Corp., 722 F.2d 677, 680 (11th Cir. 1984).

       Because    Plaintiff     is    proceeding    in    forma      pauperis,    the

Magistrate Judge screened his Complaint pursuant to 28 U.S.C. §

1915A.    The Magistrate Judge concludes in the R&R that Plaintiff's

First Amendment, Religious Land Use and Institutionalized Persons

Act,     and    Eighth    Amendment     excessive        force      claims   survive
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screening.     Through his present motion. Plaintiff complains that

neither the R&R nor the Adoption Order rule on these claims.           Now

that Plaintiff's Complaint has been screened and the above claims

were found to be cognizable, he may proceed with them and they

will be ruled on in due course once his appeal is resolved.


     The remainder of Plaintiff s motion restates his claims for

relief, but "Rule 60(b) was never intended to permit parties to

relitigate the merits of claims or defenses, or to raise new claims

or defenses that could have been asserted during the litigation of

the case."     Gonzales v. Sec'y for Dep't of Corr., 366 F.3d 1253,

1291-92 (11th Cir. 2004).


        Upon the foregoing. Plaintiff's motion (Doc. 17) is DENIED.

     ORDER ENTERED at Augusta, Georgia this                  Qf October,

2020.




                                        J. RARDprliALL/ CHIEF JUDGE
                                        UNITED /states DISTRICT COURT
                                         OUTESRN   DISTRICT OF GEORGIA
